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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRIC'I` OF COLUMBIA

 

FONDERIE ACCIAIERIE ROIALE, S.P.A.,

AN ITALIAN CORPORATION
PLAINTIFF,
V.
MAGOTTEAUX INTERNATIONAL S/A,
A BELGIAN CORPORATION,
DEFENDANT.

FlLED
FEB 27 2009

NANCY MAYER WH\TT|NGTON, CLERK
U.S DlSTRICT COURT

cIvIL ACTIoN No.
1:08-Cv-01351(cKK)

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STIPULATION OF DISMISSAL BASED ON SETTLEMENT

Plaintiff Fonderie Acciaierie Roiale, S.p.A, and Defendant Magotteaux International S/A,

hereby tile this Stipulation of Dismissal Based on Settlement pursuant to Fed. R. Civ. P.

4l(a)(l)(ii). The parties, by and through their respective undersigned counsel, hereby stipulate

that the above-captioned action is dismissed in its entirety Without prejudice, with each party

responsible for its own attorneys’ fees and costs.

DATED: February 27, 2009

/s/

John J. Gresens

Robert S. Rigg

William J. Voller III

David Moore Hernandez, D.C. Bar No. 473952
VEDDER PRICE P.C.

222 North Lasalle Street

Chicago, Illinois 60601

Counsel for Defendants Magotteaux, Inc.

and Magotteaux International S/A

188234-1

Respectfully submitted,

/s/

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APPROVED AND SO ORDERED.
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On this 1217 day of f :4. , 2009.

@r@ my mag

The Honorable Colleen Kollar-Kotell'y
UNITED STATES DISTRICT JUDGE

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CERTIFICATE OF SERVICE
The undersigned certifies that the foregoing,
STIPULATION OF DISMISSAL BASED ON SETTLEMENT,
was filed with the U.S. District Court for the District of Columbia on February 27, 2009,

through the ECF filing system, which will send notification of such filing to the following:

David Moore Hernandez
VEDDER PRICE P.C.
875 15th Street NW
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Washington, D.C. 20005

Notice will be delivered by First Class Mail, postage prepaid, to the following non-filing
users:

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/s/
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